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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA

                                   Case No. 8:23-cv-00046

JAMES COOKSEY,

       Plaintiff,
v.

EXPERIAN INFORMATION SOLUTIONS
INC, EQUIFAX INFORMATION SERVICES
LLC, TRANS UNION LLC, AND
HEALTHCARE REVENUE RECOVERY
GROUP LLC d/b/a ACCOUNT RESOLUTION
SERVICES,

      Defendants.
__________________________________________/

                     JOINT NOTICE OF SETTLEMENT WITH
                DEFENDANT EQUIFAX INFORMATION SERVICES LLC

        Plaintiff James Cooksey (“Plaintiff”) and Defendant Equifax Information Services LLC

 (“Equifax”) submit this Joint Notice of Settlement and states Plaintiff and Equifax have reached

 a settlement with regard to this case and are presently drafting, finalizing, and executing the

 formal settlement documents. Upon full execution of the same, the parties will file the

 appropriate dismissal documents with the Court.

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Respectfully Submitted,

 /s/ Thomas J. Patti             .
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